                                          Case 2:17-cv-05075-AB-JPR Document 218 Filed 03/25/19 Page 1 of 3 Page ID #:11040



                                              1 ANDREW P. BRIDGES (CSB NO. 122761)
                                                abridges@fenwick.com
                                              2 FENWICK & WEST LLP
                                                801 California Street
                                              3 Mountain View, CA 94041
                                                Telephone: 650.988.8500
                                              4 Facsimile: 650.928.5200
                                              5 JED WAKEFIELD (CSB No. 178058)
                                                jwakefield@fenwick.com
                                              6 TODD R. GREGORIAN (CSB No. 236096)
                                                tgregorian@fenwick.com
                                              7 ARMEN NERCESSIAN (CSB No. 284906)
                                                anercessian@fenwick.com
                                              8 SAPNA MEHTA (CSB NO. 236096)
                                                smehta@fenwik.com
                                              9 ERIC B. YOUNG (CSB No. 318754)
                                                eyoung@fenwick.com
                                             10 FENWICK & WEST LLP
                                                555 California Street, 12th Floor
                                             11 San Francisco, CA 94104
                                                Telephone: 415.875.2300
                                             12 Facsimile: 415.281.1350
F ENWICK & W EST LLP




                                             13 RONALD P. SLATES (SBN: 43712)
                       ATTORNEYS AT LAW




                                                rslates2@rslateslaw.com
                                             14 RONALD P. SLATES, P.C.
                                                500 South Grande Avenue, Suite 2010
                                             15 Los Angeles, CA 90071
                                                Telephone: 213.624.1515
                                             16 Facsimile: 213.624.7536
                                             17 Attorneys for Plaintiffs/Judgement Creditors
                                                GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
                                             18
                                             19                        UNITED STATES DISTRICT COURT
                                             20                      CENTRAL DISTRICT OF CALIFORNIA
                                             21
                                             22 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                                and LIVEWIRE SERVICES, INC., a
                                             23 Nevada corporation,                  NOTICE OF MANUAL LODGING
                                                                                     OF DEPOSITION TRANSCRIPTS
                                             24               Plaintiffs,            FOR USE AT TRIAL
                                             25         v.                                 Trial:        March 26, 2019
                                                                                           Time:         8:30 am
                                             26 PERFECT 10, INC., a California             Courtroom:    7B
                                                corporation; NORMAN ZADA, an               Judge:        Hon. André Birotte, Jr.
                                             27 individual; and DOES 1-50, inclusive,
                                             28                  Defendants.
                                                  NOTICE OF MANUAL LODGING OF DEPOSITION                CASE NO. 2:17-cv-05075-AB (JPR)
                                                  TRANSCRIPTS FOR USE AT TRIAL
                                          Case 2:17-cv-05075-AB-JPR Document 218 Filed 03/25/19 Page 2 of 3 Page ID #:11041



                                              1 TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                              2         Under Local Rule 32-1, Plaintiffs Giganews, Inc. and Livewire Services, Inc.
                                              3 hereby lodge copies of the following deposition transcripts they intend to introduce
                                              4 into evidence. Plaintiffs have attached a revised index showing the specific
                                              5 testimony from the following witnesses:
                                              6
                                              7            No.                     Deposition                         Date
                                              8
                                              9             1.     Poblete, Melanie                               4/23/2014

                                             10             2.     Zada, Norm                                     4/24/2014
                                             11
                                             12             3.     Zada, Norm                                     4/25/2014
F ENWICK & W EST LLP




                                             13
                       ATTORNEYS AT LAW




                                                            4.     Zada, Norm 30(b)(6)                            6/30/2014
                                             14
                                                            5.     Zada, Norm                                     8/24/2014
                                             15
                                             16             6.     Zada, Norm (Debtor Examination)                1/28/2016
                                             17
                                                            7.     Hersh, Bruce (Debtor Examination)              5/17/2016
                                             18
                                             19             8.     Poblete, Melanie (Debtor Examination)          12/6/2016
                                             20
                                                            9.     Zada, Norm                                     7/11/2018
                                             21
                                             22            10.     Poblete, Melanie                               7/17/2018

                                             23            11.     Hersh, Bruce                                   7/18/2018
                                             24
                                                           12.     Zada, Norm                                     10/31/2018
                                             25
                                             26
                                             27
                                             28
                                                  NOTICE OF MANUAL LODGING OF DEPOSITION    1             CASE NO. 2:17-cv-05075-AB (JPR)
                                                  TRANSCRIPTS FOR USE AT TRIAL
                                          Case 2:17-cv-05075-AB-JPR Document 218 Filed 03/25/19 Page 3 of 3 Page ID #:11042



                                              1         Plaintiffs have also included Defendants’ designations of deposition
                                              2 testimony they intend to offer at trial in the attached Index. The Index includes
                                              3 Plaintiffs’ objections and counter-designations.
                                              4
                                              5
                                                  Dated: March 25, 2019                 FENWICK & WEST LLP
                                              6
                                              7
                                                                                        By: /s/ Eric B. Young
                                              8                                            Eric B. Young
                                              9
                                                                                        Attorneys for Plaintiffs/Judgment Creditors
                                             10                                         GIGANEWS, INC., and LIVEWIRE
                                             11                                         SERVICES, INC.
                                             12
F ENWICK & W EST LLP




                                             13
                       ATTORNEYS AT LAW




                                             14
                                             15
                                             16
                                             17
                                             18
                                             19
                                             20
                                             21
                                             22
                                             23
                                             24
                                             25
                                             26
                                             27
                                             28
                                                  NOTICE OF MANUAL LODGING OF DEPOSITION      2            CASE NO. 2:17-cv-05075-AB (JPR)
                                                  TRANSCRIPTS FOR USE AT TRIAL
